     Case 5:21-cv-01827-GW-SHK Document 1 Filed 10/28/21 Page 1 of 10 Page ID #:1



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15
16                          UNITED STATES DISTRICT COURT
17                         CENTRAL DISTRICT OF CALIFORNIA
18
19 ELSA MERIDA, individually and on behalf          Case No:
20 of all others similarly situated,
                            Plaintiff,              NOTICE OF REMOVAL
21
           v.                                       [County of San Bernardino Superior
22
                                                    Court Case No. CIV SB 2122624]
23 MONDELĒZ INTERNATIONAL, INC., a
   Virginia Corporation; MONDELĒZ
24 GLOBAL LLC, a Delaware Limited
25 Liability Company; and DOES 1 through
   10, inclusive,
26
                           Defendants,
27
28


                                         NOTICE OF REMOVAL
     Case 5:21-cv-01827-GW-SHK Document 1 Filed 10/28/21 Page 2 of 10 Page ID #:2



 1 TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
 2         PLEASE TAKE NOTICE that Defendants Mondelēz International, Inc. and
 3 Mondelēz Global LLC (together, “MDLZ” or “Defendants”) hereby effect the removal of
 4 this action from the Superior Court of California, County of San Bernardino to the United
 5 States District Court for the Central District of California, Eastern Division.
 6         Removal is proper based on: (1) the Class Action Fairness Act of 2005 (“CAFA”),
 7 28 U.S.C. § 1332(d), because this case is a class action in which the putative class exceeds
 8 100 members, at least one plaintiff is diverse from at least one defendant, and the amount
 9 in controversy exceeds $5 million; and (2) 28 U.S.C. § 1332(a), because there is complete
10 diversity, and the amount in controversy exceeds $75,000, exclusive of interest and costs.
11 Venue is proper in this Court because it is the “district and division embracing the place
12 where [the] action is pending.” See 28 U.S.C. § 1441(a); 28 U.S.C. § 84(c)(1) (providing
13 that the San Bernardino County is part of the Eastern Division of the Central District of
14 California).
15           FACTUAL BACKGROUND AND STATE COURT PROCEEDINGS
16         1.     Plaintiff filed this lawsuit in San Bernardino Superior Court on August 5, 2021.
17 See Ex. A (State Court Complaint and Summons). MDLZ executed the Acknowledgment
18 of Receipt on October 19, 2021. See Ex. B.
19         2.     Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of the state court case
20 file is attached to this Notice of Removal and is incorporated by reference herein. The file
21 includes all process, pleadings, and orders filed in this case, including the Summons and
22 Complaint (Ex. A), and all other documents filed in the state court (Ex. C).
23         3.     Plaintiff alleges that MDLZ’s Sour Patch Kids boxes contain non-functional
24 slack-fill and that consumers are deceived into receiving less candy than what is represented
25 by the size of the box. See Ex. A (“Compl.”) ¶¶ 25–34.
26         4.     Based on those allegations, Plaintiff alleges causes of action against MDLZ
27 for (1) violation of California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200
28 et seq. (“UCL”); (2) violation of California’s False Advertising Law, Cal. Bus. & Prof.
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                                         NOTICE OF REMOVAL
     Case 5:21-cv-01827-GW-SHK Document 1 Filed 10/28/21 Page 3 of 10 Page ID #:3



 1 Code § 17500 et seq. (“FAL”); (3) violation of California’s Consumers Legal Remedies
 2 Act, Cal. Civ. Code § 1750 et seq. (“CLRA”); (4) restitution based on quasi-contract/unjust
 3 enrichment; (5) common-law fraud; (6) intentional misrepresentation; and (7) negligent
 4 misrepresentation. See Compl. ¶¶ 74–172.
 5         5.     Plaintiff seeks compensatory damages, statutory damages, restitutionary
 6 damages, injunctive relief, and attorneys’ fees on behalf of herself and a class of all persons
 7 who purchased MDLZ’s Sour Patch Kids in the United States (or, alternatively, California)
 8 since August 5, 2017. See Compl. ¶¶ 4, 61, 126, Prayer for Relief.
 9                   REMOVAL IS PROPER UNDER 28 U.S.C. § 1332(d)
10         6.     CAFA provides that federal courts have original jurisdiction over class actions
11 in which (a) any plaintiff is diverse from any defendant, (b) there are at least 100 members
12 in the putative class, and (c) the amount in controversy exceeds $5 million, exclusive of
13 interest and costs. 28 U.S.C. § 1332(d). Under 28 U.S.C. § 1441(a), any such action may
14 be removed to the district court for the district and division embracing the place where the
15 action is pending.
16         7.     Under CAFA, there is no presumption against removal to federal court. See
17 Dart Cherokee Basin Operating Co. v. Owens, 574 U.S. 81, 89 (2014). Unless a plaintiff
18 challenges removal, an assessment of the amount in controversy is based solely on the
19 allegations of the complaint, rather than “evidentiary submissions.” Id. at 84; see also
20 Henry v. Cent. Freight Lines, Inc., 692 F. App’x 806, 807 (9th Cir. 2017) (noting in a case
21 removed under CAFA that a court must rely on “the allegations contained in the complaint”
22 in determining the amount in controversy).
23         8.     In other words, a defendant need not offer evidence to substantiate the amount
24 in controversy; rather, a “notice of removal need include only a plausible allegation that the
25 amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee, 574 U.S. at
26 89. “Evidence establishing the amount is required . . . only when the plaintiff contests, or
27 the court questions, the defendant’s allegation.” Id.; see also Greene v. Harley-Davidson,
28 Inc., 965 F.3d 767, 772 (9th Cir. 2020) (applying Dart Cherokee standard to removal under

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                                         NOTICE OF REMOVAL
     Case 5:21-cv-01827-GW-SHK Document 1 Filed 10/28/21 Page 4 of 10 Page ID #:4



 1 CAFA); LaCross v. Knight Transp., Inc., 775 F.3d 1200, 1202 (9th Cir. 2015) (holding that
 2 a “preponderance of the evidence” standard applies only after “a defendant’s assertion of
 3 the amount in controversy is challenged”) (citations and internal quotation marks omitted).
 4          Plaintiff Has Alleged That the Proposed Class Is Sufficiently Numerous
 5         9.     Plaintiff purports to bring this action on behalf of “[a]ll persons who
 6 purchased the Product[s] in the United States or, alternatively, the State of California, for
 7 personal use and not for resale during the time period of four years prior to the filing of the
 8 complaint through the present.” Compl. ¶ 61. According to the complaint, the putative
 9 class contains “many thousands of persons.” Id. ¶ 64.
10         10.    Although MDLZ does not concede the truth of Plaintiff’s allegations, those
11 allegations establish that the proposed class satisfies CAFA’s numerosity requirement. See
12 28 U.S.C. § 1332(d)(5)(B).
13                              The Parties Are Minimally Diverse
14         11.    CAFA’s minimal diversity standard is satisfied when “any member of a class
15 of plaintiffs is a citizen of a State different from any defendant.” 28 U.S.C. § 1332(d)(2)(A);
16 Bridewell-Sledge v. Blue Cross of California, 798 F.3d 923, 928 (9th Cir. 2015) (“[U]nder
17 CAFA, complete diversity is not required; ‘minimal diversity’ suffices.”) (citation omitted).
18         12.    Plaintiff resides in Colton, California and is a citizen of California. Compl. ¶
19 13.
20         13.    Defendant Mondelēz International, Inc. is incorporated in Virginia and
21 maintains its principal place of business in Chicago, Illinois. Compl. ¶ 14. Accordingly, it
22 is a citizen of Virginia and Illinois. See 28 U.S.C. § 1332(c)(1) (providing that a corporation
23 is a “citizen of any State by which it has been incorporated and of the State where it has its
24 principal place of business”).
25         14.    Defendant Mondelēz Global LLC is incorporated in Delaware and maintains
26 its principal place of business in East Hanover, New Jersey.1 It is wholly owned by
27
28   1
      Plaintiff incorrectly alleges that Mondelēz Global LLC maintains its principal place of
     business in Chicago, Illinois. Compl. ¶ 15.
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                                          NOTICE OF REMOVAL
     Case 5:21-cv-01827-GW-SHK Document 1 Filed 10/28/21 Page 5 of 10 Page ID #:5



 1 Mondelēz International, Inc. Accordingly, it is a citizen not only of Delaware and New
 2 Jersey, but also of Virginia and Illinois. See Johnson v. Columbia Properties Anchorage,
 3 LP, 437 F.3d 894, 899 (9th Cir. 2006) (“[A]n LLC is a citizen of every state of which its
 4 owners/members are citizens.”); Jack v. Ring LLC, No. 21-544, --- F. Supp. 3d ----, 2021
 5 WL 3510291, at *3 (N.D. Cal. Aug. 10, 2021) (finding that citizenship of LLC for purposes
 6 of CAFA is determined by state of incorporation and principal place of business).
 7         15.    The minimal diversity requirement is satisfied here because Plaintiff and
 8 Defendants are citizens of different states. See Aguilar v. Courtyard Mgmt. Corp., No. 13-
 9 07181, 2014 WL 12597037, at *2 (C.D. Cal. Jan. 13, 2014) (finding CAFA minimal
10 diversity requirement was satisfied where named plaintiff was “a citizen of California—a
11 different state than at least one defendant”).
12         16.    Because Defendants are not citizens of California, neither the “local
13 controversy” nor the “home state” exception to CAFA applies. See 28 U.S.C. § 1332(d)(3)–
14 (4).
15                         There Is at Least $5,000,000 in Controversy
16         17.     “In measuring the amount in controversy, a court must assume that the
17 allegations of the complaint are true and that a jury will return a verdict for the plaintiff on
18 all claims made in the complaint.” Korn v. Polo Ralph Lauren Corp., 536 F. Supp. 2d 1199,
19 1205 (E.D. Cal. 2008). The court must then “add[] up the value of the claim of each person
20 who falls within the definition of [the] proposed class.” Std. Fire Ins. Co. v. Knowles, 568
21 U.S. 588, 592 (2013).
22         18.     To satisfy the amount-in-controversy requirement, a defendant must establish
23 only that “the potential damages could exceed the jurisdictional amount.” Rea v. Michaels
24 Stores Inc., 742 F.3d 1234, 1239 (9th Cir. 2014) (quoting Lewis v. Verizon Commc’ns, Inc.,
25 627 F.3d 395, 397 (9th Cir. 2010)). “The amount in controversy is not a prospective
26 assessment of [a] defendant’s liability”; instead, “it is the amount at stake in the underlying
27 litigation.” Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 417 (9th Cir. 2018) (citations
28 and internal quotation marks omitted).           “To meet CAFA’s amount-in-controversy

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                                          NOTICE OF REMOVAL
     Case 5:21-cv-01827-GW-SHK Document 1 Filed 10/28/21 Page 6 of 10 Page ID #:6



 1 requirement, a defendant needs to plausibly show that it is reasonably possible that the
 2 potential liability exceeds $5 million.” Greene, 965 F.3d at 772 (emphasis added).
 3         19.    In other words, “[t]he ultimate inquiry is what amount is put ‘in controversy’
 4 by the plaintiff’s complaint, not what a defendant will actually owe.” Korn, 536 F. Supp.
 5 2d at 1205; see also, e.g., Greene, 965 F.3d at 772 (“[T]he amount in controversy is the
 6 ‘amount at stake in the underlying litigation.’ ‘Amount at stake’ does not mean likely or
 7 probable liability; rather it refers to possible liability.”) (quoting Gonzales v. CarMax Auto
 8 Superstores, LLC, 840 F.3d 644, 648 (9th Cir. 2016)) (second emphasis added); Rippee v.
 9 Boston Mkt. Corp., 408 F. Supp. 2d 982, 986 (S.D. Cal. 2005) (“It’s not a question as to
10 what you would owe. It’s a question as to what is in controversy.”) (citation omitted). For
11 that reason, the Ninth Circuit has made clear that a court cannot “delve into the merits” or
12 conduct “a fact-based analysis of the merits” in assessing the amount in controversy.
13 Greene, 965 F.3d at 774.
14         20.    Without conceding any merit to Plaintiff’s allegations, causes of action,
15 claims for damages, restitution, attorneys’ fees, and injunctive relief, the amount placed in
16 controversy by Plaintiff’s complaint satisfies CAFA’s jurisdictional threshold.
17         21.    The complaint alleges unlawful and deceptive conduct with respect to the
18 sales of MDLZ’s Sour Patch Kids to “[a]ll persons who purchased the Product[s] in the
19 United States or, alternatively, the State of California”—amounting to “many thousands of
20 persons”—“during the time period of four years prior to the filing of the complaint through
21 the present.” Compl. ¶¶ 61, 64. MDLZ’s sales data reflect that nationwide retail sales of
22 Sour Patch Kids during the putative class period substantially exceed $5 million.
23         22.    Because restitution is available under the UCL, FAL, and CLRA, and
24 compensatory damages are also available in connection with Plaintiff’s CLRA and
25 common-law fraud claims, it is “reasonably possible” that Plaintiff’s allegations, taken as
26 true solely for purposes of the instant analysis, place more than $5 million in retail sales of
27 MDLZ’s Sour Patch Kids in controversy. See Greene, 965 F.3d at 772.
28         23.    Plaintiff also seeks to recover attorneys’ fees. See Compl. ¶ 126, Prayer for

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                                          NOTICE OF REMOVAL
     Case 5:21-cv-01827-GW-SHK Document 1 Filed 10/28/21 Page 7 of 10 Page ID #:7



 1 Relief (D). For purposes of assessing the amount in controversy, the Court is not limited to
 2 considering fees incurred at the time of removal; rather, “a court must include future
 3 attorneys’ fees recoverable by statute or contract when assessing whether the amount-in-
 4 controversy requirement is met.” Fritsch v. Swift Transp. Co. of Ariz., LLC, 899 F.3d 785,
 5 794 (9th Cir. 2018) (holding that the amount in controversy includes fees potentially
 6 incurred after removal); see Bayol v. Zipcar, Inc., No. 14-2483, 2015 WL 4931756, at *7
 7 (N.D. Cal. Aug. 18, 2015) (“The amount in controversy can include . . . attorneys’ fees[.]”).
 8         24.    Fee requests in consumer class actions, such as this case, are typically
 9 significant. See, e.g., Wilson v. Airborne, Inc., No. 07-770, 2008 WL 3854963, at *12 (C.D.
10 Cal. Aug. 13, 2008) (awarding $3,459,946 in attorneys’ fees in deceptive advertising class
11 action); Chavez v. Netflix, Inc., 162 Cal. App. 4th 43, 46 (2008) (affirming trial court’s
12 award of attorneys’ fees of $2.04 million as part of the settlement of consumer class action);
13 In re Sony SXRD Rear Projection Television Class Action Litig., No. 06-5173, 2008 WL
14 1956267, at *16 (S.D.N.Y. May 1, 2008) (approving negotiated award to class counsel of
15 $1.6 million in attorneys’ fees and expenses in breach-of-warranty class action).
16         25.    Additionally, Plaintiff seeks several forms of injunctive relief, including orders
17 (1) “enjoining Defendants from continuing to engage, use, or employ their practice of
18 under-filling the Products’ boxes,” (2) “enjoining Defendants from continuing to label,
19 package, and/or advertise the Products as challenged herein,” and (3) “requiring Defendants
20 to disclose such misrepresentations.” See Compl. ¶ 126, Prayer for Relief (A).
21         26.    “In actions seeking declaratory or injunctive relief, it is well established that
22 the amount in controversy is measured by the value of the object of the litigation.” Cohn v.
23 Petsmart, Inc., 281 F.3d 837, 840 (9th Cir. 2002) (quoting Hunt v. Wash. State Apple
24 Advert. Comm’n, 432 U.S. 333, 347 (1977)); see also Rose v. J.P. Morgan Chase, N.A., No.
25 12-225, 2012 WL 892282, at *2–3 (E.D. Cal. Mar. 14, 2012) (denying motion to remand
26 where value of injunctive relief sought exceeded the amount in controversy). The amount
27 in controversy therefore includes “the cost [to MDLZ] of complying with [Plaintiff’s]
28 requested injunctive relief”—i.e., a corrective advertising campaign and changes to the Sour

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                                          NOTICE OF REMOVAL
     Case 5:21-cv-01827-GW-SHK Document 1 Filed 10/28/21 Page 8 of 10 Page ID #:8



 1 Patch Kids packaging and manufacturing process to remove the alleged slack-fill going
 2 forward. Gen. Dentistry for Kids, LLC v. Kool Smiles, P.C., 379 F. App’x 634, 635 (9th
 3 Cir. 2010); Fritsch, 899 F.3d at 793 (noting that “the costs of complying with an injunction”
 4 are included in determining whether CAFA’s amount in controversy requirement is met).
 5 These costs would be substantial. In fact, it is entirely possible that the cost of a corrective
 6 advertising campaign alone could come close to $5 million. See, e.g., Fefferman v. Dr.
 7 Pepper Snapple Grp., Inc., No. 13-160, 2013 WL 12114486, at *3 (S.D. Cal. Mar. 12, 2013)
 8 (noting that, “[i]n total, the corrective advertisement campaign would cost Defendants
 9 approximately $4,985,000”).
10         27.    Therefore, when aggregated, Plaintiff’s request for compensatory damages,
11 restitution, and attorneys’ fees, combined with the costs of Plaintiff’s requested injunctive
12 relief, readily exceed CAFA’s $5 million threshold.
13                REMOVAL IS ALSO PROPER UNDER 28 U.S.C. § 1332(a)
14         28.    District courts have original jurisdiction over civil actions in which (1) there is
15 complete diversity of citizenship, and (2) the amount in controversy exceeds the sum or
16 value of $75,000, exclusive of interest and costs. See 28 U.S.C. § 1332(a).
17                              The Parties Are Completely Diverse
18         29.    As set forth above, the parties are completely diverse, as Plaintiff is a citizen
19 of California and Defendants are not citizens of California. See supra ¶¶ 12-14.
20                           There Is at Least $75,000 in Controversy
21         30.    Putting aside Plaintiff’s request for compensatory damages, statutory damages,
22 restitution, and attorneys’ fees, the cost of injunctive relief in itself satisfies the $75,000
23 amount-in-controversy.
24         31.    The Ninth Circuit uses the “either viewpoint” rule to calculate the amount in
25 controversy in cases seeking injunctive relief. In re Ford Motor Co./Citibank (S. Dakota),
26 N.A., 264 F.3d 952, 958 (9th Cir. 2001). Under that rule, “the test for determining the
27 amount in controversy is the pecuniary result to either party which the judgment would
28 directly produce.” Id. (citation omitted). Thus, even if “the value of a plaintiff’s potential

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                                          NOTICE OF REMOVAL
     Case 5:21-cv-01827-GW-SHK Document 1 Filed 10/28/21 Page 9 of 10 Page ID #:9



 1 recovery . . . is below the jurisdictional amount, but the potential cost to the defendant of
 2 complying with the injunction exceeds that amount, it is the latter that represents the amount
 3 in controversy for jurisdictional purposes.” Id.
 4         32.    As discussed above, Plaintiff seeks injunctive relief that would require MDLZ
 5 to engage in a corrective advertising campaign and make changes to the processes used to
 6 manufacture, fill, and package Sour Patch Kids. See supra ¶¶ 25-26. That amount could
 7 conceivably exceed $75,000, which is sufficient to satisfy the amount-in-controversy
 8 requirement.
 9                                     VENUE IS PROPER
10         33.    Venue is proper in this Court because Plaintiff filed her complaint in San
11 Bernardino County Superior Court, which is located in this District. See 28 U.S.C. §
12 1441(a) (“Except as otherwise expressly provided by Act of Congress, any civil action
13 brought in a State court of which the district courts of the United States have original
14 jurisdiction, may be removed by the defendant or the defendants, to the district court of the
15 United States for the district and division embracing the place where such action is
16 pending.”); 28 U.S.C. § 84(c)(1) (providing that the San Bernardino County is part of the
17 Eastern Division of the Central District of California).
18         34.    Under 28 U.S.C. § 1446(b), a notice of removal of a civil action must be filed
19 within thirty days of service of the summons and complaint. Service was complete when
20 MDLZ executed the Acknowledgment of Receipt on October 19, 2021. See Ex. B; Chissie
21 v. Winco Foods, LLC, No. 09-2915, 2010 WL 580987, at *2 (E.D. Cal. Feb. 12, 2010)
22 (treating the date on which the Notice and Acknowledgment of Receipt form was signed as
23 the date of service); Thomas v. Facebook, Inc., No. 18-856, 2018 WL 3915585, at *3 (E.D.
24 Cal. Aug. 15, 2018) (similar). This Notice of Removal is therefore timely.
25                 OTHER REQUIREMENTS FOR REMOVAL ARE MET
26         35.    No attorneys for MDLZ have entered an appearance, or filed any pleadings or
27 other papers responding to the complaint in the Superior Court.
28         36.    28 U.S.C. § 1446 requires a defendant to remove an action from state court

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                                         NOTICE OF REMOVAL
     Case 5:21-cv-01827-GW-SHK Document 1 Filed 10/28/21 Page 10 of 10 Page ID #:10



 1 within thirty days of service. Here, Plaintiff provided a copy of the Summons and
 2 Complaint to MDLZ along with the Notice and Acknowledgment of Receipt form on
 3 September 29, 2021, and MDLZ executed the Notice and Acknowledgment of Receipt form
 4 on October 19, 2021. MDLZ filed its Notice of Removal less than 30 days after receiving
 5 the Notice and Acknowledgment Form and less than 10 days after acknowledging receipt,
 6 which renders this Notice of Removal timely.
 7          37.   Pursuant to 28 U.S.C. § 1446(d), MDLZ will promptly give written notice of
 8 the filing of this Notice of Removal to Plaintiff and will promptly file a written notice, along
 9 with a copy of this Notice of Removal, with the Clerk of the San Bernardino Superior Court
10 and serve it on all parties. See Ex. D (Notice to State Court).
11                                         CONCLUSION
12          WHEREFORE, MDLZ gives notice of removal of this action from the Superior
13 Court of California, San Bernardino County to the United States District Court for the
14 Central District of California, Eastern Division.
15
16 DATED: Oct. 28, 2021                      JENNER & BLOCK LLP
17
                                       By:             /s/ Kate T. Spelman
18                                                         Kate T. Spelman
19
                                             Attorneys for Defendants
20                                           Mondelēz International, Inc. and Mondelēz
21                                           Global LLC
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                                          NOTICE OF REMOVAL
